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7                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
8

9    A.I.I.L., et al.,                                      No. CV-19-00481-TUC-JCH
10                             Plaintiffs,                  REPLY IN SUPPORT OF
                                                            MOTION TO HOLD ACTION IN
11                           -v-                            ABEYANCE
12   Jefferson Beauregard Sessions III, et al.,             (Third Request)
13                             Defendants.
14

15           Plaintiffs respectfully submit this reply in support of their motion to hold this action
16   in abeyance for a period of sixty (60) days, until December 13, 2021. No party disputes
17   that Plaintiffs and the United States have made meaningful progress toward settlement
18   during the previous 60-day stay. Continuing to stay this case through December 13, 2021
19   will allow Plaintiffs to continue to focus their attention on settlement efforts. Individual
20   Defendants oppose the motion, claiming that a stay is inappropriate because it would
21   prejudice Individual Defendants (Opp. 2-3), because moving forward would not harm
22   Plaintiffs (Opp. 3), and because the ordinary course of justice favors moving forward
23   (Opp. 3-4). Individual Defendants are incorrect on all three counts.
24           First, staying this action for an additional 60 days would not prejudice Individual
25   Defendants. In its order granting Plaintiffs’ second request, this Court explained that
26   “circumstances . . . remain substantially similar” to those justifying the initial stay, such
27   that an additional 60 days would not “significantly prejudice the Individual Defendants.”
28   Order at 2. Individual Defendants point to no subsequent change that would counsel


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1    against an additional stay, particularly given the significant progress of Plaintiffs and the
2    United States toward settlement. Instead, Individual Defendants argue that a stay “is itself
3    prejudice” because Individual Defendants assert a qualified immunity defense and
4    qualified immunity should be resolved as early as possible. See Opp. 2. But Individual
5    Defendants cite no case (and Plaintiffs can find none) in which a court denied a stay simply
6    on the basis of a qualified immunity defense. See Opp. 2 (citing Pearson v. Callahan, 555
7    U.S. 223 (2009) (appeal from decision on summary judgment); Hunter v. Bryant, 502 U.S.
8    224 (1991) (same); Harlow v. Fitzgerald, 457 U.S. 800 (1982) (same)). After all, while
9    the action is stayed, the Individual Defendants will confront none of the burdens of
10   litigation—discovery and trial—with which the qualified immunity defense is concerned.
11   Mitchell v. Forsyth, 472 U.S. 511, 526 (1985) (describing purpose of qualified immunity
12   to protect officials from “the costs of trial or . . . the burdens of broad-reaching
13   discovery . . . .” (cleaned up)); Horton by Horton v. City of Santa Maria, 915 F.3d 592,
14   603 n.10 (9th Cir. 2019) (“The qualified immunity defense shields government officials
15   from the costs and distractions of litigation and not just from liability.”). And Individual
16   Defendants’ rule would contravene the well-established “discretionary power” of courts to
17   control the disposition of the cases on their dockets. Lockyer v. Mirant Corp., 398 F.3d
18   1098, 1109 (9th Cir. 2005) (citation omitted); Landis v. N. Am. Co., 299 U.S. 248, 254
19   (1936); see also Leyva v. Certified Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th Cir. 1979)
20   (“A trial court may, with propriety, find it is efficient for its own docket and the fairest
21   course for the parties to enter a stay of an action before it, pending resolution of
22   independent proceedings which bear upon the case.”); JPMorgan Chase LPI Hazard Litig.,
23   No. C-11-03058 JCS, 2013 WL 3829271, at *5 (N.D. Cal. July 23, 2013) (granting a 60-
24   day stay pending settlement of separate proceedings that would resolve all claims pending
25   before the court).
26          Second, Individual Defendants suggest that Plaintiffs would suffer no hardship
27   should this Court decide to move forward on their motion because there are no present
28   deadlines in this case. Opp. 3. But, as this Court previously explained, continuing the stay


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1    would allow Plaintiffs to “focus their nationwide efforts on settlement,” Order at 2, and
2    would “possibly avoid[] unnecessary litigation costs for discovery and other motions as to
3    the individual-capacity claims,” Order Granting First Stay (Dkt. 66) at 4. In particular,
4    Plaintiffs requested oral argument and discovery in their opposition to Individual
5    Defendants’ motion, Opp. to Mot. to Dismiss (Dkt. 54) at 1, 9, 11, 28, and these
6    proceedings would generate costs, consume judicial resources, and complicate Plaintiffs’
7    settlement negotiations.
8           Third, Individual Defendants argue that the ordinary course of justice does not favor
9    a stay because it is only the United States who is engaged in settlement negotiations and
10   because judicial economy favors deciding the motions to dismiss piecemeal. Opp. 3-4.
11   But Individual Defendants—themselves represented by Department of Justice lawyers—
12   do not deny the possibility that settlement discussions may result in the resolution of all of
13   Plaintiffs’ claims against both the United States and Individual Defendants. And they
14   nowhere contend that their interests would be inadequately represented in such a
15   settlement.
16          Individual Defendants also argue that the legal issues in their dismissal motion are
17   “distinct” from those in the United States’ motion, and that a further stay would therefore
18   not serve judicial economy. Opp. 3-4. For example, Individual Defendants contend that
19   the “special factors inquiry [in Bivens] focuses on whether an alternative process exists,
20   not whether a particular plaintiff may prevail.” Id. at 4. While Plaintiffs have explained
21   why this view of the special factors inquiry is incorrect, see, e.g., Opp. to Mot. to Dismiss
22   at 23-24, here the United States argues that Plaintiffs’ FTCA claims are categorically
23   unavailable, see, e.g., U.S. Mot. to Dismiss (Dkt. 53) at 11-28, which is plainly relevant to
24   Plaintiffs’ Bivens arguments. Numerous other areas of overlap exist among Plaintiffs’
25   Bivens, §§ 1985 and 1986, and FTCA claims. Each arises out of the same shocking acts
26   of family separation and detention and each bears on constitutional issues this Court may
27   prefer to address simultaneously; for example, the scope of the Bivens cause of action and
28   the discretionary function exception under the FTCA each require an analysis of the


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1    constitutionality of Individual Defendants’ actions. See Opp. to Mot. to Dismiss at 17-19,
2    35-53; Opp. to U.S. Mot. to Dismiss (Dkt. 55) at 7-11. In sum, extending the stay here
3    would help to conserve judicial resources. Order at 2.
4            Finally, the Court of Appeals for the District of Columbia in K.O. v. Sessions, Civ.
5    No. 20-5255, Dkt. 1910476 (Aug. 17, 2021)—another case in which plaintiffs filed Bivens
6    claims against government officials for separating families at the border—recently granted
7    an additional 60-day extension for appellants to file their merits reply brief in light of the
8    same nationwide settlement negotiations. The court there granted the extension after the
9    appellants argued, in part, that such an extension would “conserve judicial resources.”
10   K.O., Civ. No. 20-5255, Dkt. 1909008, 4 (Aug. 4, 2021). The Court should do the same
11   here.
12           Plaintiffs accordingly request that the Court hold all of the pending motions to
13   dismiss in abeyance for a period of sixty (60) days, until December 13, 2021.
14

15           Dated this 20th day of October, 2021.
16

17    By: /s/ Jacqueline P. Rubin
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9                                        of herself and her minor children,
                                         J.A.H.I. and M.E.H.I.; L.L.H.O., on
10                                       behalf of herself and her minor child,
                                         K.E.O.H.; J.L.V.A., on behalf of himself
11
                                         and his minor child, D.S.V.H.; J.I.S., on
12                                       behalf of himself and his minor child,
                                         B.L.S.P.; and J.J.P.B., on behalf of
13                                       himself and his minor child, A.E.P.F.
14

15
                                         October 20, 2021
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1                                  CERTIFICATE OF SERVICE
2           I hereby certify that on October 20, 2021 I caused the attached document to be
3    electronically transmitted to the Clerk’s office using the CM/ECF System for filing. Notice
4    of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
5    system or by mail as indicated on the Notice of Electronic Filing.
6

7                                                                /s/ Jacqueline P. Rubin
                                                                 Jacqueline P. Rubin
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